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   1   MARK BECK LAW, PC
       John Hanusz (SBN 277367)
   2   Email: jhanusz@markbecklaw.com
       350 West Colorado Boulevard, Suite 200
   3   Pasadena, California 91105
       Telephone: (213) 596-7828
   4
       MORRISON COHEN LLP
   5   Jason Gottlieb (pro hac vice forthcoming)
       Email: jgottlieb@morrisoncohen.com
   6   Modupeolu Adegoke (pro hac vice forthcoming)
       Email: dadegoke@morrisoncohen.com
   7   909 Third Avenue
       New York, New York 10022
   8   Telephone: (212) 735-8600
       Facsimile: (212) 735-8708
   9
 10    Attorneys for Plaintiffs Vitaly Anaykin and Konstantin Bondarev
 11
                           UNITED STATES DISTRICT COURT
 12
                          CENTRAL DISTRICT OF CALIFORNIA
 13
 14
 15                                               Case No. 19-CV-8165
        VITALY ANAYKIN and
 16     KONSTANTIN BONDAREV,                      COMPLAINT FOR
                                                  VIOLATIONS OF THE
 17                            Plaintiffs,        EXCHANGE ACT, THE
                                                  SECURITIES ACT, AND
 18                  v.                           COMMON LAW FRAUD
 19     NIKOLAY EVDOKIMOV and
        CRYPTONOMICS CAPITAL,
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                               Defendants.
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   1                                     COMPLAINT
   2         Plaintiffs Vitaly Anaykin and Konstantin Bondarev (“Plaintiffs”) make
   3   this Complaint for violations of Sections 10(b), 20(a), and 21(d) of the Securities
   4   and Exchange Act of 1934 (the “Exchange Act”) and Securities and Exchange
   5   Commission (“SEC”) Rule 10b-5; Sections 5, 12 and 15 of the Securities Act of
   6   1933 (the “Securities Act”), and for common law fraud under California law, and
   7   allege as follows based upon personal knowledge with respect to their own
   8   accounts, and upon information and belief as to all other allegations:
   9
 10                             NATURE OF THE ACTION
 11          1.     In October 2017, Defendant Nikolay Evdokimov created
 12    Cryptonomics Capital (“Cryptonomics”). Cryptonomics aimed to allow the
 13    general public, through funds controlled by the company, to invest in initial coin
 14    offerings (“ICOs”) for multiple cryptocurrencies.
 15          2.     Cryptonomics was a fraud. It was unregistered in any way with any
 16    U.S. regulator. Evdokimov’s promises were lies. Cryptonomics operated
 17    outside the law. And it failed. Evdokimov took his investors’ money, and then
 18    abandoned the project, leaving his investors in the lurch.
 19          3.     Investment in Cryptonomics’ funds required an investor to invest
 20    either cash or Bitcoin (“BTC”).
 21          4.     Each fund or “Portfolio” was allegedly unique, in that each
 22    contained carefully selected ICO projects. Each Portfolio promised a different
 23    return on investment, ranging from 50% to 700%.
 24          5.     Cryptonomics’ pitch was that investors could rely on Cryptonomics’
 25    experts, analysts, and advisers to choose the most profitable ICO projects.
 26    According to its website, investors would not be making high-risk
 27    cryptocurrency investments if they used Cryptonomics’ formula. Using
 28    Cryptonomics’ investment scheme, the company guaranteed expert advice,
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                                     COMPLAINT
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   1   transparency during the investment process, and higher potential for positive
   2   returns.
   3         6.     In their advertising and information documents, Defendants claimed
   4   that their funds were developed by experts who created an effective screening
   5   and evaluation system to determine profitable and successful ICO projects. In
   6   essence, Defendants claimed that by using this algorithm, an investor was
   7   guaranteed a successful investment.
   8         7.     Defendants claimed that their investment scheme was different from
   9   other cryptocurrency-based funds because it had a unique and exclusive range of
 10    investment products in the ICO and cryptocurrency market. Defendants asserted
 11    that by investing in Cryptonomics’ Portfolios, an investor could minimize risk,
 12    while maximizing return on investment.
 13          8.     Cryptonomics continually advertised that its success could be seen
 14    not only by the amount “reimbursed” to investors since its inception, but also by
 15    its initial number of investors. Cryptonomics claimed that within the first six
 16    months of its inception, its investment scheme drew more than 20,000 investors
 17    from 84 countries, allowing the company to grow rapidly. Defendants advertised
 18    that since the establishment of Cryptonomics Capital, the company had disbursed
 19    an average of 541 BTC to 1106 BTC to its investors.
 20          9.     Cryptonomics’ marketing materials proclaimed that Cryptonomics
 21    offered a unique investment opportunity to invest in mature startups. According
 22    to Cryptonomics, this opportunity, coupled with its experts choosing the ICO
 23    projects, would guarantee low risk and favorable returns on investments. This
 24    marketing pitch was a fantasy. But Cryptonomics continued to pretend that it
 25    had a unique, infallible formula; stating that its own experts would find only the
 26    most profitable ICO projects.
 27          10.    In truth, Defendants knew all along that they could never legally run
 28    their online platform.
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                                         COMPLAINT
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   1         11.    Defendants failed to register with the United States Securities and
   2   Exchange Commission (“SEC”), the United States Commodity Futures Trading
   3   Commission (“CFTC”), or any other potentially relevant regulator. Defendants
   4   knew or reasonably should have known registration was required, as the SEC had
   5   previously stated, repeatedly, that ICOs may be issuances of securities that must
   6   comply with federal securities laws; and the SEC and CFTC had filed numerous
   7   lawsuits against individuals and companies for the unlawful issuance of
   8   cryptocurrencies that are securities or commodities.
   9         12.    Indeed, the SEC has recently sued Evdokimov and ICOBox, another
 10    company which he controls, for a similar unregistered securities offering, “as
 11    well as the unregistered broker activities related to securities offered by
 12    ICOBox’s clients, exposing thousands of investors to risky investments without
 13    providing the necessary information and protections required by the federal
 14    securities laws.” See Complaint, SEC v. ICOBox and Nikolay Evdokimov, No.
 15    19-CV-8099 (C.D. Cal, filed Sept. 18, 2019) (“ICOBox Complaint”).
 16          13.    Based on Cryptonomics’ promises, advertisements, and numerous
 17    other assurances and guarantees of a successful profit return, Plaintiffs,
 18    beginning on or around November 2017, made a series of deposits into funds
 19    controlled by Evdokimov and Cryptonomics.
 20          14.    Defendants continued to solicit and successfully raise funds from
 21    other similarly situated investors through 2018. Defendants also continued to
 22    advertise that investors were receiving positive returns on their investments.
 23    Additionally, Evdokimov, in a series of marketing videos, maintained his
 24    confidence in Cryptonomics, stating that all payments to investors would be
 25    made, even if he had to do it personally.
 26          15.    However, Evdokimov has now abandoned Cryptonomics. The
 27    current version of the Cryptonomics website, while still advertising for new
 28    investors, mostly contains inoperable links. Additionally, Defendants have not
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   1   responded to requests for the refund of Plaintiffs’ investments, nor have they
   2   contacted Plaintiffs regarding the status of their investments at any time.
   3   Defendants have failed to make any payments to Plaintiffs on their fairly sizable
   4   investments. And Evdokimov failed to respond in any way to a demand letter, or
   5   a text message containing a demand. This lack of communication is a clear
   6   indication that Defendants had no intention of fulfilling the guarantees made on
   7   their website, nor refunding Plaintiffs’ investments.
   8         16.    Defendants’ fraudulent actions and omissions have led to the total
   9   loss of Plaintiffs’ investments. As a result of Defendants’ fraud and multiple
 10    violations of the federal securities laws, Plaintiffs are entitled to rescission of
 11    their investments, and damages for breach of contract and fraud.
 12
 13                                      THE PARTIES
 14          17.    Plaintiff Vitaly Anaykin (“Anaykin”) is a Russian citizen domiciled
 15    in Montenegro.
 16          18.    Plaintiff Konstantin Bondarev (“Bondarev”) is a Russian citizen
 17    domiciled in Thailand.
 18          19.    Defendant Nikolay Evdokimov (“Evdokimov”), the founder of
 19    Cryptonomics Capital, is a Russian citizen, and upon information and belief
 20    resides at 1240 Benedict Canyon Drive, Beverly Hills, California 90210-2727
 21    and 725 North Foothill Road, Beverly Hills, California 90210. Evdokimov is
 22    also listed as the founder of many now-defunct cryptocurrency companies, and
 23    currently serves as managing partner of a company that purports to provide OTC
 24    Bitcoin trades worldwide for institutional investors and others. Evdokimov has
 25    never been registered with the SEC in any capacity or associated with any
 26    registered broker-dealers.
 27          20.    Defendant Cryptonomics Capital (“Cryptonomics”) is a Switzerland
 28    Corporation with its principal place of business at 4 Embarcadero Center, San
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                                          COMPLAINT
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   1   Francisco, California 94111. Upon information and belief, it was incorporated in
   2   Switzerland in 2018, but has been operating since at least 2017 from its office in
   3   the Northern District of California.
   4
   5                               JURISDICTION AND VENUE
   6          21.       This Court has subject matter jurisdiction over this action pursuant
   7   to 28 U.S.C. § 1331 (federal question); Section 22 of the Securities Act (15
   8   U.S.C. § 77v); and Section 27 of the Exchange Act (15 U.S.C. §§ 78u(e) and
   9   78aa), because Plaintiffs allege violations of Sections 10 and 20 of the Exchange
 10    Act, Rule 10-b5, and Sections 5, 12, and 15 of the Securities Act.
 11           22.       This Court has supplemental jurisdiction over Plaintiffs’ California
 12    law fraud claim pursuant to 28 U.S.C. § 1367(a), because the fraud claim is so
 13    related to Plaintiffs’ claims under the Exchange Act and Securities Act that it
 14    forms part of the same case or controversy.
 15           23.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) and
 16    (c) and 15 U.S.C. §§ 78v and 78aa, because Defendants are found, and/or reside,
 17    and/or are inhabitants of, or transact business within this District. Venue is also
 18    proper in this District because many of the acts and transactions giving rise to the
 19    violations of law complained of herein occurred in this District. In addition,
 20    venue is proper in this district because Defendant Nikolay Evdokimov resides in
 21    this district.
 22
 23                                 FACTUAL ALLEGATIONS
 24    I.     Blockchain Technology and Initial Coin Offerings
 25           24.       A “blockchain” is essentially a digitized, decentralized, public
 26    ledger that cryptographically records, preserves, and presents information. The
 27    general idea is that each “block” contains information, such as details on
 28    transactions that are made. After a “block” is created (with cryptography to
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   1   verify its contents), the information inside of it cannot be changed. The “block”
   2   then becomes part of the “blockchain,” and an encrypted version of the
   3   information contained therein becomes publicly available along with all the
   4   previous “blocks” in the chain. After this process is complete, another block is
   5   created with additional information, and so on.
   6          25.      To date, most “blockchains” are used to record transactions
   7   involving virtual currencies, such as Bitcoin (BTC) and Ether (ETH). However,
   8   a “blockchain” could be used to record all types of information. For example, a
   9   blockchain could be used for deed recordation/transfers or even transfers of stock
 10    certificates.
 11           26.      An ICO is a capital raising event in which an entity offers investors
 12    a unique “coin” or “token” in exchange for consideration – most commonly in
 13    the form of established virtual currencies like BTC and ETH – or fiat currency.
 14    These tokens are issued on a blockchain and are oftentimes listed on online
 15    platforms, called virtual currency exchanges, where they may be traded for
 16    virtual or fiat currencies.
 17           27.      To participate in an ICO, investors are typically required to transfer
 18    virtual currencies to the issuer’s address, online wallet, or other account. During
 19    an ICO, or after its completion, the issuer will typically distribute its unique
 20    “tokens” to a participant’s unique address on the blockchain. Similar to
 21    stockholders in an IPO, holders of these tokens are often entitled to certain rights
 22    related to a venture underlying the ICO, such as profits, shares of assets, use of
 23    certain services provided by the issuer, and/or voting rights.
 24 II.       The SEC’s View of Cryptocurrency Tokens
 25           28.      The SEC raised alarms early about cryptocurrency, warning of
 26    Ponzi schemes involving virtual currencies in July 2013, and cautioning
 27    investors about Bitcoin and other virtual currency investments in May 2014.
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   1         29.    On July 25, 2017, the SEC issued a landmark report concluding that
   2   the tokens of a company called “The DAO” were securities, and thus they should
   3   have been registered with the SEC. See Exch. Act Rel. No. 81207 (July 25,
   4   2017) (the “DAO Report”). That report “[p]ut the digital asset industry on notice
   5   that many digital assets … are securities under SEC v. W.J. Howey Co., 328 U.S.
   6   293 (1946), and subject to the federal securities laws, including registration
   7   requirements.” ICOBox Complaint ¶ 5.
   8         30.    Evdokimov was well aware of the DAO Report by the time of the
   9   Cryptonomics offering, publicly discussing its significance, including in an
 10    interview with Reuters and in communications with potential investors.
 11          31.    The SEC followed its analysis in the DAO Report with an August
 12    28, 2017 investor alert about public companies making ICO-related claims,
 13    including “pump-and-dump” and market manipulation schemes. The SEC also
 14    issued trading suspensions against certain issuers for making claims regarding
 15    their ICOs. On December 11, 2017, SEC Chairman Jay Clayton released a
 16    statement which stated, “By and large, the structures of initial coin offerings that
 17    I have seen promoted involve the offer and sale of securities and directly
 18    implicate the securities registration requirements and other investor protection
 19    provisions of our federal securities laws.”
 20          32.    On February 6, 2018, Chairman Clayton told the U.S. Senate
 21    Committee on Banking, Housing, and Urban Affairs that “platforms that provide
 22    for trading in such securities must register with the SEC as national securities
 23    exchanges or operate pursuant to an exemption from such registration,” and that
 24    “those who operate systems and platforms that effect or facilitate transactions in
 25    these products that they may be operating unregistered exchanges or broker-
 26    dealers that are in violation of the Securities Exchange Act of 1934.”
 27          33.    Following these announcements, the industry was on notice that
 28    token offerings such as ICOs would likely be considered securities offerings,
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                                       COMPLAINT
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   1   subject to the federal securities laws; and that funds such as Cryptonomics may
   2   be considered a broker-dealer operating on an unregistered basis.
   3 III.     Nikolay Evdokimov and Cryptonomics Capital
   4          34.    Upon information and belief, Cryptonomics Capital is a Swiss
   5   company founded by Nikolay Evdokimov and is operated by Evdokimov out of
   6   offices in San Francisco.
   7          35.    While Evdokimov is listed as the “Strategic Advisor” for
   8   Cryptonomics, he has been repeatedly cited as the founder and guiding force of
   9   the company. In a video promoting Cryptonomics, Evdokimov introduced
 10    himself as the “Co-founder and vision director of ICOBox, and head of the
 11    Cryptonomics fund.” 1
 12           36.    Cryptonomics advertised that “over 80 specialists evaluate the ICOs
 13    before the token is added to the portfolio.” (See screenshot below.) However,
 14    Cryptonomics has, at most, five employees. Currently, only two employees are
 15    advertised as working at Cryptonomics.
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               See https://www.youtube.com/watch?v=s8byZszn2do. In the cited video, Evdokimov
 27    says in Russian: “Меня зовут Николай Евдокимов я являюсь вижн директором компании
       ICOBox, а также руководителем платформы криптономикс.” For the Court’s convenience,
 28    Plaintiffs provide all Russian quotes in their original Russian, and English translations.
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                                            COMPLAINT
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    1 IV.     Cryptonomics Capital and the Promise of Investments in Profitable
              ICOs
    2
    3         37.     Cryptonomics publicized its business model on or around October
    4   2017 via its website, https://www.cryptonomics.io.
    5         38.     Cryptonomics advertised that potential investors, without prior
    6   knowledge of cryptocurrency, would be able to invest in ICOs and blockchain
    7   technology.
    8         39.     Specifically, Cryptonomics’ website stated:
    9                 Earn on investments in profitable projects without
                      knowledge in the field of ICO and blockchain technologies
   10
                      The fund conducts a thorough analysis of ICO projects,
   11                 provides the investor with a list of promising projects with a
                      point of investment attractiveness, helps to buy tokens with
   12                 the maximum discount in the market and gives
                      recommendations on the sale of tokens with profit.
   13
   14         40.     In the Cryptonomics model, Cryptonomics would act as the
   15   intermediary, choosing which ICO projects to invest in, selling the resulting
   16   token, and divesting a portion of the original proceeds back to the original
   17   investor.
   18         41.     This model, according to a September 2017 Cryptonomics
   19   presentation, attracted more than “38,000 investors from 95 countries” to the
   20   company, and was causing Cryptonomics to be the “number one on the crypto
   21   investment market.”
   22         42.     Cryptonomics’ business model bore all the characteristics of an
   23   investment in an investment contract under the Howey test: investors invested of
   24   money in a common enterprise, and were led to expect profits solely from
   25   Cryptonomics’ efforts.
   26         43.     Further, by advising on investments, providing investment advice,
   27   and helping to effect transactions in securities on behalf of investors,
   28   Cryptonomics was acting as a broker-dealer, as well as an investment adviser.
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    1   As it turns out, Cryptonomics was not registered with any regulatory agency to
    2   perform any of this activity.
    3   Evdokimov’s Knowledge and Intent
    4         44.    Evdokimov was well aware of the SEC’s position on unregistered
    5   securities offerings.
    6         45.    Evdokimov gave interviews (including to Reuters) and made
    7   statements online about his interpretation of the DAO Report, incorrectly
    8   claiming that his ICOBox’s token offering was not a security or had an
    9   “exemption” from registration because the token had a “utility.” According to an
   10   article posted on Reuters.com and other sites on July 27, 2017, ICOBox founder
   11   told Reuters their ICOs have utility. In the following days, ICOBox and
   12   Evdokimov commented on the article on the company’s Twitter account,
   13   including posting on July 30, 2017 that “Nick Evdokimov said our tokens have a
   14   utility, the most likely exemption.” Evdokimov did not say what that purported
   15   utility was or how that would constitute an exemption from securities laws.
   16         46.    ICOBox received multiple questions on Telegram, a digital
   17   messaging service, from potential investors as to whether the company was able
   18   to offer ICOBox tokens broadly to all U.S. investors, given the apparent
   19   application of the federal securities laws. Management responded that it could
   20   (and did) sell to U.S. investors and the company did not require information from
   21   purchasers to assess whether they were accredited investors. For example, on
   22   Telegram on August 25, 2017 (in the midst of an ICO), a potential investor
   23   asked, “Can ICOS tokens be bought in the US? I saw there could be regulations
   24   in the US for ICOs, is your team knowledgeable on that? I didn’t see any identity
   25   verification to get some of your tokens, whereas other groups . . . had a very
   26   strong vetting process to avoid issues with the SEC.” An ICOBox team member
   27   responded:
   28
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                     “Yes, you can purchase them while in U.S. SEC’s press
    1                release is not a new law. It stemmed from the investigation of
                     a specific company, The DAO, which issued its tokens. In
    2                fact, The DAO’s tokens were securities, but the company was
                     selling then in violation of the laws regulating securities
    3                market. However, not all tokens are securities by default. In
                     addition to laws which define what is and is not a security,
    4                there exists a large volume of court decisions on the issue.
                     Court decisions also define the criteria which help determine
    5                if a particular transaction is a security. Depending on the
                     situation the term ‘token’ may mean both securities and other
    6                financial tools, and this fact was adequately reflected in
                     SEC’s press release. Our tokens are not securities. They are
    7                a product which has its purpose and functions. Because ICOS
                     token is not a security, its sale does not require registration.”
    8
    9   These false statements demonstrate an awareness of the DAO Report. Similar to
   10   his sale of the ICOS token, Evdokimov’s sale of the Cryptonomics tokens were
   11   also unregistered sales of securities, which he knew full well at the time.
   12   Evdokimov’s Self-Interest
   13         47.    In an October 2017 presentation, Cryptonomics described an
   14   investment scheme vastly different than its current setup. In its prior investment
   15   scheme, investors were originally required to deposit a minimum of 0.015 BTC
   16   (approximately US$142 at the time 2) in an account controlled by Cryptonomics,
   17   not, as further explained below, into a specific Portfolio. This investment
   18   scheme also involved the use of a company called ICOBox.
   19         48.    According to its website, ICOBox brands itself as ‘the world’s most
   20   experienced ICO/STO service provider.”
   21         49.    From the October 2017 presentation, Evdokimov stated that a
   22   portion of the invested funds would be used to pay for ICOBox’s services.
   23         50.    According to Evdokimov’s LinkedIn profile, Evdokimov has been,
   24   and is currently, the Vision Director for ICOBox since July 2017. The
   25   company’s own press release reveals that Defendant Evdokimov is the founder
   26
   27
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               This minimum deposit was increased to 0.07 BTC (approximately US$665) in
   28   February 2018.
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    1   and owner of ICOBox. He also returned in December 2018 to once again be the
    2   company’s CEO.
    3         51.    Evdokimov thus had a vested interest in ICOBox. The use of
    4   Evdokimov’s ICOBox company to handle funds from Cryptonomics’ investors
    5   was an intermingling of funds between the two companies, the extent of which
    6   was undisclosed to investors.
    7         52.    On September 18, 2019, ICOBox and Evdokimov were sued by the
    8   SEC for issuing unregistered securities, and for acting as a broker-dealer without
    9   registering in any way with the SEC. See generally ICOBox Complaint. As
   10   stated in that Complaint, “Neither ICOBox nor Evdokimov have ever been
   11   registered with the SEC in any capacity, or associated with any registered broker-
   12   dealers.” Id. at ¶ 116.
   13   Cryptonomics’ Investment Portfolios and its Promises of Profits
   14         53.    Between October 2017 and March 2018, Defendants revamped their
   15   investment scheme, allowing investors to choose which Portfolio to direct their
   16   investments. At the time of Plaintiffs’ initial investments (November 2017),
   17   Defendants offered investors the opportunity to either invest in Portfolio 1 or 2.
   18   (While a third portfolio option was originally slated for 2018, it never came into
   19   fruition.) It was through the use of these Portfolios that Cryptonomics
   20   guaranteed investors that they would receive profitable returns.
   21         54.    With Portfolio 1, Defendants promised that if an investor
   22   contributed the minimum investment, it would receive a 50% return on its
   23   investment within two months. (“The fund takes all the work on itself, and you
   24   earn 50% of the profits on invested capital in passive mode.”)
   25         55.    In a video posted on Cryptonomics’ YouTube channel, Evdokimov
   26   claimed that the use of Portfolio 1 would result in a favorable investment: “We
   27   return to our investors in the first portfolio, for example on investing 100 Bitcoin,
   28   we return 150 Bitcoin in a well-regulated time frame, two months, that is, so for
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    1   a cycle of two months from the moment of investment for each invested bitcoin,
    2   we return one and a half. The economy is all in bitcoins. Naturally, 50% in two
    3   months is 1113% per annum, and this is essentially the volume of risk-free
    4   investments, since the sale of these tokens does not depend on any external
    5   factors.” 3
    6          56.    Cryptonomics further alleged that pursuant to Portfolio 1, the
    7   investments were not dependent on the outcome of the ICO or when the related
    8   token would go public.
    9          57.    Under Portfolio 2, Defendants advertised a 700-plus percent return
   10   on investment within four to eight months if the investor made a minimum
   11   deposit. (See screenshot below.) With Portfolio 2, a team of allegedly “over 80
   12   specialists evaluate the ICOs before the token is added to the portfolio” with the
   13   experts using a “stringent system [for] … projects selection.” Following this
   14   expert analysis, each project would be given an attractiveness score, which
   15   would serve as the basis for the project selection.
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               See https://www.youtube.com/watch?v=og9hka7rT2g. In the original Russian: “Мы
        возвращаем нашим инвесторам, первого портфеля на их условно говоря 100 биткоинов
   26   вложенных, возращаем 150 биткоинов в четко зарегулированное время, за 2 месяца, то
        есть за цикл два месяца от момента инвестиции на каждый вложенный биткоин мы
   27   возвращаем полтора, экономика вся в биткоинах. Естественно 50% за 2 месяца - это
        1113% годовых , вот и это по сути объем без рисковых вложений поскольку реализация
   28   этих токенов не зависит не от каких внешних факторов.”
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    1          58.    While the above chart claims a 700% rate of return as its floor,
    2   Evdokimov has claimed even higher returns. When asked by an audience
    3   member “what is the average percentage that will be received by people who
    4   invested in the 2nd portfolio during the year, what percentage will they
    5   approximately receive?” Evdokimov replied, “I think it will be around 900%, if
    6   we talk in bitcoins.” 4
    7          59.    Moreover, in a Q&A session recorded and posted on Cryptonomics’
    8   YouTube channel, an audience member posed the following question to
    9   Evdokimov: “The return on the second portfolio is 6000% per year in dollars,
   10   right?” Evdokimov replied, “Yes of course.”5
   11          60.    Cryptonomics also promised a “Portfolio 5,” which “guaranteed
   12   profitability” of 10% “regardless of bitcoin rate.” As set forth in Cryptonomics’
   13   presentation, still available on its website as of this filing:
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                See https://www.youtube.com/watch?v=og9hka7rT2g. In the original Russian: “какой
   25   на ваш взгляд, лично как вы думаете, средний процент получат люди инвестировавшие
        во 2-й портфель в течении года, какой процент они примерно получат?” Evdokimov’s
   26   reply: “Я думаю, что там порядок цифр, порядка от 900%, если говорить в биткоинах.”
   27   5
               See https://www.youtube.com/watch?v=b1i1qyVh4o4. The original exchange
        occurred in Russian. Audience member: “Доходность второго портфеля 6000% в год в
   28   долларах, правильно? Evdokimov’s reply: “Ну, да конечно.”
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                                             COMPLAINT
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    1   Bonus Compensation Structure
    2         61.    Defendants also alleged that investors could receive profits through
    3   Cryptonomics’ unilevel compensation structure. Essentially, an investor would
    4   receive a one-time 4% commission for personally recruiting affiliates (“first
    5   level” recruits), and would continue to receive commissions based on the
    6   recruited affiliates also recruiting new investors. Thus, in this payment plan, an
    7   affiliate sits at the top of the unilevel team and everyone personally recruited by
    8   the affiliate comes directly below them. Once the affiliates in the first level start
    9   recruiting new affiliates, the new members are placed on the second level and the
   10   structure continues growing.
   11         62.    This bonus referral system consequently encouraged the creation of
   12   teams where profits would stem not from ICO projects but from recruiting
   13   investors.
   14         63.    Thus, not only was Cryptonomics selling investment contracts
   15   without any registration or exemption, Cryptonomics was incentivizing people to
   16   act as unregistered broker-dealers to sell these investment contracts.
   17   Cryptonomics was not licensed to conduct such business.
   18   V.    Cryptonomics Misrepresents its Investment Scheme and Profits
   19         64.    Cryptonomics’ entire investment model was fictitious.
   20         65.    First, Defendants originally claimed that their experts stringently
   21   reviewed and analyzed each potential investment into an ICO project.
   22   Defendants, in February 2018, claimed that “[o]ver 80 specialists evaluate the
   23   ICOs before the token is added to the portfolio.” However, no more than five
   24   people at a time have been listed as working for Cryptonomics.
   25         66.    Second, these supposed experts have allowed investments into ICOs
   26   that never appeared to be financially sound. One such ICO project was
   27   Decenturion, whose token was known as “DCNT.” Unveiled in May 2018,
   28   Decenturion claimed to be the world’s first blockchain state, not controlled by
                                               16
                                        COMPLAINT
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    1   any central person or entity. Investors in Decenturion were considered citizens,
    2   did not pay taxes, and would have received tokens for free. Decenturion, which
    3   no longer has a functioning website, was established by Defendant Evdokimov
    4   who thus, once again, had a clear stake in a company intertwined with
    5   Cryptonomics.
    6         67.    Decenturion’s cryptocurrency was also a security that had not been
    7   registered, nor did it qualify for any exemption.
    8         68.    Cryptonomics led investors to believe the projected values of
    9   Decenturion for 2018 would skyrocket:
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                                           COMPLAINT
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    1         69.    Today, Decenturion is defunct. After an initial value of
    2   US$1372.00 (reaching as high as $1,480.00), the value of Decenturion’s
    3   cryptocurrency is currently less than US$0.05, as shown below:
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   16         70.    Thus, despite Cryptonomics’ assertions that its experts were
   17   diligently reviewing each ICO project which would allow for low-risk
   18   investments, and despite Cryptonomics’ guarantees of high returns,
   19   Cryptonomics invested funds in a non-established ICO, which was run by
   20   Evdokimov, from a company that had little support from the cryptocurrency
   21   community, and quickly collapsed.
   22         71.    Third, and notwithstanding the lack of experts and the questionable
   23   investments, Defendants continued assert to state in videos and presentations that
   24   their investments would “guarantee success.”
   25         72.    In numerous videos, posted both on their website and YouTube
   26   Channel, Defendants promise a high rate of return, 6 promise to return all funds
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              See https://www.youtube.com/watch?v=_QDNrcVePtQ.
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                                          COMPLAINT
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    1   invested in Portfolio 2, 7 and promise that if an investor fails to see a return on his
    2   investment, Defendant Evdokimov would personally take a loan to repay the
    3   investment. 8
    4         73.       Additionally, from December 30, 2017 to July 30, 2018,
    5   Cryptonomics proclaimed monthly that investors were receiving profits from
    6   their investments. However, as further discussed below, this was a fraud:
    7   Plaintiffs did not receive any profits from their investments with Defendants.
    8   Other Omissions and Misrepresentations
    9         74.       Defendants were legally obligated to register with the Financial
   10   Industry Regulatory Authority (“FINRA”) as a broker-dealer in order to operate
   11   their stated business.
   12         75.       The SEC has repeatedly stated that token offerings to raise equity in
   13   a company are almost always securities offerings. Brokerage activity in such
   14   security tokens would require registration as a securities broker-dealer.
   15   Cryptonomics never sought registration – even after the SEC had publicly and
   16   repeatedly told the market how it viewed cryptocurrency offerings or unlicensed
   17   cryptocurrency broker-dealers.
   18         76.       Defendants’ omissions and misrepresentations are also present in
   19   their advertising. Since the inception of Cryptonomics, Defendants have posted
   20   YouTube videos touting the success of the company, the potential profits, and
   21   the low-risk investments. These videos even stated that Defendant Evdokimov
   22   would personally refund any investments that were not profitable. In a video
   23   posted on YouTube on November 14, 2018
   24   (https://www.youtube.com/watch?v=pbc6E7Gsy6U), Evdokimov specifically
   25   states that “Cryptonomics Capital will pay back all the funds in Portfolio 2.”
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              See https://www.youtube.com/watch?v=pbc6E7Gsy6U.
   28   8
              See https://www.youtube.com/watch?v=Xklm53Jqy-4.
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                                             COMPLAINT
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    1   However, these advertisements and statements were again fraudulent.
    2   Evdokimov’s repeated promises and history of collapsed cryptocurrency projects
    3   demonstrate that he knew that there was no way he could repay investors at the
    4   time he was making these promises.
    5         77.    Defendant Evdokimov has demonstrated a clear pattern and practice
    6   of raising funds for a cryptocurrency-related business and then either allowing
    7   that business to stagnate (like Cryptonomics) or become defunct (like his former
    8   company Stable Coin S.R.L.).
    9         78.    Plaintiffs would not have invested with Cryptonomics if all of this
   10   material information, including Evdokimov’s past history and his failure to
   11   properly register his companies, had been previously disclosed.
   12 VI.     Plaintiffs’ Investments with Cryptonomics
   13         79.    Beginning in November 2017, Plaintiffs made a series of
   14   investments with Cryptonomics.
   15         80.    Defendants described the opportunity as the ability to make safe
   16   cryptocurrency-related investments without any prior knowledge of the industry.
   17         A.     Plaintiff Anaykin’s Investments with Cryptonomics
   18         81.    From December 11, 2017 to January 15, 2018, Mr. Anaykin made a
   19   series of deposits with Cryptonomics. These deposits, in Bitcoin, were (at the
   20   time) worth approximately US$678,260.36. Mr. Anaykin divided his
   21   investments between Portfolio 1 and 2.
   22         82.    On June 17, 2018, Mr. Anaykin made additional deposits into both
   23   Portfolio 1 and 2. These deposits, in bitcoin, were (at the time) worth
   24   approximately US$270,598.71.
   25         83.    Mr. Anaykin’s total investment sum for both Portfolios was thus
   26   valued at US$948,859.07.
   27         84.    The above is not inclusive of the bonus (2.631 BTC), also owed to
   28   Mr. Anaykin as well.
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                                          COMPLAINT
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    1         85.    Mr. Anaykin did not receive any profits from his investments with
    2   Defendants, despite Defendants’ continued assertions that they reimbursed their
    3   investors throughout 2018.
    4         B.     Plaintiff Bondarev’s Investments with Cryptonomics
    5         86.    From the beginning of 2018, Mr. Bondarev made a series of
    6   deposits with Cryptonomics. These deposits, in Bitcoin, were (at the time) worth
    7   approximately US$121,600.00. Mr. Bondarev divided his investments between
    8   Portfolio 1 and 2.
    9         87.    Mr. Bondarev did not receive any profits from his investments with
   10   Defendants despite Defendants continued assertions that they reimbursed their
   11   investors throughout 2018.
   12 VII.     Cryptonomics’ Violations of Federal Securities Laws
   13         88.    Under Section 5 of the Securities Act, all issuers must register non-
   14   exempt securities with the SEC. Unless a registration statement is in effect as to
   15   a security, it is unlawful for any person, directly or indirectly, (1) to make use of
   16   any means or instruments of transportation or communication in interstate
   17   commerce or of the mails to sell such security through the use or medium of any
   18   prospectus or otherwise; or (2) to carry or cause to be carried through the mails
   19   or in interstate commerce, by any means or instruments of transportation, any
   20   such security for the purpose of sale or for delivery after sale.
   21         89.    Cryptonomics did not meet any relevant exemption. Since
   22   Cryptonomics operated out of the United States, Defendants were required to
   23   comply with the rules for such exemptions. However, Defendants failed to
   24   comply with the securities laws, in numerous ways.
   25         90.    First, upon information and belief, Defendants have not filed any
   26   paperwork with the SEC or any other regulatory body indicating registration or a
   27   regulatory exemption.
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                                            COMPLAINT
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    1         91.    Second, Defendants failed to comply with the express investor
    2   protection conditions of Rule 506(c), by failing to verify the accredited investor
    3   status of each investor.
    4         92.    Third, Defendants failed to comply with Section 502(d) by failing to
    5   exercise reasonable care to assure that the purchasers of the securities were not
    6   underwriters within the meaning of Section 2(a)(11) of the Securities Act.
    7         93.    Further, Cryptonomics was effectively operating a broker-dealer.
    8   However, Cryptonomics was not registered as a broker-dealer, and Evdokimov
    9   has never been registered with the SEC in any capacity, or associated with any
   10   registered broker-dealers.
   11   VIII. Defendants Refuse to Refund Any Investments
   12         94.    Defendants have not only refused to disclose to investors how
   13   investor funds have been used in the past, or are currently being used, but also
   14   have refused to refund Plaintiffs’ investments. Upon information and belief,
   15   Defendants continue to hold investors’ funds but are no longer making
   16   investments through Cryptonomics.
   17         95.    Upon information and belief, Cryptonomics has dissipated its funds
   18   to the point where it may no longer be a viable business.
   19         96.    In short, Defendants’ false claims and promises – which they knew
   20   at the time were impossible – have collapsed. Yet they continue to hold
   21   Plaintiffs’ money.
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                                           COMPLAINT
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    1                                   CAUSES OF ACTION
    2                                          COUNT I
    3      VIOLATIONS OF SECTION 10(b) OF THE EXCHANGE ACT AND
                               RULE 10b-5
    4
                                       (Against All Defendants)
    5
    6         97.        Plaintiffs hereby incorporate by reference the allegations contained
    7   in the preceding paragraphs of this Complaint.
    8         98.        This Count is brought pursuant to Section 10(b) of the Exchange
    9   Act, 15 U.S.C. § 78j(b), and Rule 10b-5, 17 C.F.R. § 240.10b-5, against all
   10   Defendants.
   11         99.        Defendants, directly or indirectly, by use of the means and
   12   instrumentalities of interstate commerce or of the mails, in connection with the
   13   purchase or sale of securities, knowingly or recklessly, employed devices,
   14   schemes, or artifices to defraud, and engaged in acts, practices, and courses of
   15   business which operate or would operate with fraud or deceit.
   16         100. Defendants made untrue statements of material fact and omitted
   17   material facts necessary in order to make the statements appear, in light of the
   18   circumstances under which they were made, not misleading.
   19         101. The misrepresentations and omissions alleged herein include:
   20               a.      Failure to disclose all the risks associated with Cryptonomics’
   21                       business model, and indeed providing false comfort by making
   22                       statements indicating that it would be a profitable investment
   23                       scheme;
   24               b.      Repeatedly making false statements regarding the profitability of
   25                       investing with Cryptonomics Capital, including repeated
   26                       comments guaranteeing a successful investment and
   27                       guaranteeing certain returns;
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                                              COMPLAINT
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    1             c.     Deliberately concealing the investment commingling between
    2                    Defendant Evdokimov’s companies and Cryptonomics, and
    3                    failing to disclose the same;
    4             d.     Reneging on promises to return unprofitable investments in
    5                    Cryptonomics back to investors;
    6             e.     Prematurely ending Cryptonomics’ operations without properly
    7                    informing or refunding Plaintiffs’ investments;
    8             f.     Deliberately investing in financially unsound ICOs despite
    9                    numerous reassurances that each investment would undergo a
   10                    stringent vetting process; and
   11             g.     Intentionally failing to comply with U.S. securities regulations in
   12                    regard to registration.
   13         102. Defendants knew those statements were false at the time they were
   14   made, or knew that the information they were omitting was required to make the
   15   information they did disclose not materially misleading. As demonstrated by
   16   their awareness of the DAO Report, and making public statements that
   17   misrepresented that report, Evdokimov knew that his ICO was an unregistered
   18   sale of securities. And the facts surrounding his misrepresentations are such that
   19   it is easy to draw a strong inference of scienter.
   20         103. Had Plaintiffs known the truth about the Cryptonomics investment
   21   scheme, they would not have sent money (either fiat, Bitcoin, or any other
   22   cryptocurrency) to Cryptonomics.
   23         104. As a direct and proximate result of the Defendants’ wrongful
   24   conduct, Plaintiffs suffered damages in connection with their investment in
   25   Cryptonomics.
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                                            COMPLAINT
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    1                                       COUNT II
    2         VIOLATIONS OF SECTION 20(a) OF THE EXCHANGE ACT
    3                                 (Against Evdokimov)
    4         105. Plaintiffs hereby incorporate by reference the allegations contained
    5   in the preceding paragraphs of this Complaint.
    6         106. This Count is asserted against Defendant Evdokimov under Section
    7   20(a) of the Exchange Act, 15 U.S.C. § 78t(a).
    8         107. Defendant Evdokimov, by virtue of his office, stock ownership,
    9   agency, agreements or understandings, and specific acts was, at the time of the
   10   wrongs alleged herein, the controlling person within the meaning of Section
   11   20(a) of the Exchange Act. Defendant Evdokimov had the power and influence
   12   and exercised the same to cause the material misrepresentations and omissions in
   13   connection with the investment with Cryptonomics.
   14         108. Defendant Evdokimov possesses, directly or indirectly, the power to
   15   direct or cause the direction of the management and policies of Cryptonomics,
   16   through the ownership of voting securities, by contract, subscription agreement,
   17   or otherwise.
   18         109. Defendant Evdokimov was a direct participant in making, and/or
   19   was made aware of the circumstances surrounding, the materially false and/or
   20   misleading representations and omissions regarding Cryptonomics’ investment
   21   scheme.
   22         110. Defendant Evdokimov, founder of Cryptonomics, continuously
   23   touted his credentials as a high-experienced, cryptocurrency expert. Evdokimov
   24   made repeated statements, videos, and presentations attesting to guaranteed
   25   profits if Plaintiffs invested in Cryptonomics.
   26         111. Evdokimov knew or should have known that Cryptonomics was
   27   required to seek proper registration though the SEC.
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                                           COMPLAINT
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    1         112. As a direct and proximate result of Evdokimov’s wrongful conduct,
    2   Plaintiffs suffered damages in connection with their investment in Cryptonomics.
    3                                        COUNT III
    4     VIOLATIONS OF SECTIONS 5 AND 12(a)(1) OF THE SECURITIES
                                  ACT
    5
                                    (Against All Defendants)
    6
    7         113. Plaintiffs hereby incorporate by reference the allegations contained
    8   in the preceding paragraphs of this Complaint.
    9         114. This Count is brought pursuant to Sections 5 and 12(a)(1) of the
   10   Securities Act, 15 U.S.C. §§ 77e and 77l(a)(1), against all Defendants.
   11         115. Federal securities laws require that companies disclose certain
   12   information through the registration with the SEC of the offer or sale of
   13   securities. This information allows investors to make informed judgments about
   14   whether to purchase a company’s securities.
   15         116. Defendants promoted, offered, and/or sold securities with their
   16   Portfolios and investment scheme.
   17         117. Defendants are issuers, underwriters, and/or necessary participants
   18   of/in the sales of cryptocurrency.
   19         118. No Defendant or other person filed with the SEC a registration
   20   statement regarding Cryptonomics’ investment/sales of cryptocurrency. No
   21   registration was in effect at the time Plaintiffs made their investments with
   22   Cryptonomics, and no exemption to the registration requirement was available.
   23         119. Defendants used the instrumentalities of interstate commerce in
   24   connection with their investment scheme.
   25         120. By engaging in the conduct described above, Cryptonomics offered
   26   and sold securities without a registration statement in effect and without a
   27   registration exemption.
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                                             COMPLAINT
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    1         121. Investors who bought into Cryptonomics’ investment scheme made
    2   an investment of money in a common enterprise with Cryptonomics and with
    3   each other, and reasonably would have been led to expect profits derived from
    4   the entrepreneurial and managerial efforts of Cryptonomics and its agents. This
    5   is especially so given Defendants’ numerous statements “guaranteeing success.”
    6         122. Cryptonomics never filed any form indicating an exemption with
    7   respect to its investment scheme with the SEC. However, this cryptocurrency
    8   investment scheme was not exempt from registration: investors’ funds, including
    9   Plaintiffs’, were used for the offer and sale of cryptocurrency to the general
   10   public, and the fundraise was not limited to accredited investors.
   11         123. As a result of the conduct described above, Defendants violated
   12   Section 5(a) of the Securities Act, which states that unless a registration
   13   statement is in effect as to a security, it is unlawful for any person, directly or
   14   indirectly, to make use of any means or instruments of transportation or
   15   communication in interstate commerce or of the mails to sell such security
   16   through the use or medium of any prospectus or otherwise; or to carry or cause to
   17   be carried through the mails or in interstate commerce, by any means or
   18   instruments of transportation, any such security for the purpose of sale or for
   19   delivery after sale.
   20         124. Also as a result of the conduct described above, Defendants violated
   21   Section 5(c) of the Securities Act, which states that it is unlawful for any person,
   22   directly or indirectly, to make use of any means or instruments of transportation
   23   or communication in interstate commerce or of the mails to offer to sell or offer
   24   to buy through the use or medium of any prospectus or otherwise any security,
   25   unless a registration statement has been filed as to such security.
   26         125. Section 12(a)(1) grants Plaintiffs a private right of action against
   27   any person who offers or sells a security in violation of Section 5, and states that
   28   such person, “shall be liable … to the person purchasing such security from him,
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                                           COMPLAINT
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    1   who may sue either at law or in equity in any court of competent jurisdiction, to
    2   recover the consideration for such security with interest thereon, less the amount
    3   of any income received thereon, upon the tender of such security, or for damages
    4   if he no longer owns the security.”
    5         126. Defendant Evdokimov, as the founder and promoter of
    6   Cryptonomics, constitutes as an “offer[or]” or “seller” under Section 12 of the
    7   Securities Act, and is thus liable for selling unregistered securities in connection
    8   with investments with Cryptonomics.
    9         127. Evdokimov and Cryptonomics profited handsomely from these
   10   investments.
   11         128. Defendants are still in control of investment funds and have
   12   continued to refuse to refund any of Plaintiffs’ investments.
   13         129. As such, all Defendants have participated in the offer and sale of
   14   unregistered securities in violation of the Securities Act, and are liable to
   15   Plaintiffs jointly and severally for rescission and/or compensatory damages.
   16                                         COUNT IV
   17           VIOLATION OF SECTION 15 OF THE SECURITIES ACT
   18                                  (Against Evdokimov)
   19         130. Plaintiffs hereby incorporate by reference the allegations contained
   20   in the preceding paragraphs of this Complaint.
   21         131. This Count is asserted against Evdokimov under Section 15 of the
   22   Securities Act, 15 U.S.C. § 77o.
   23         132. Defendant Evdokimov, by virtue of his office, stock ownership,
   24   agency, agreements or understandings, and specific acts was, at the time of the
   25   wrongs alleged herein, a controlling person within the meaning of Section 15 of
   26   the Securities Act. Defendant Evdokimov had the power and influence and
   27   exercised the same to cause the unlawful investment scheme with Cryptonomics.
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                                            COMPLAINT
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    1         133. Defendant Evdokimov possesses, directly or indirectly, the power to
    2   direct or cause the direction of the management and policies of Cryptonomics,
    3   through the ownership of voting securities, by contract, subscription agreement,
    4   or otherwise.
    5         134. Defendant Evdokimov has sufficient influence to have caused
    6   Cryptonomics to not submit a registration statement.
    7         135. Defendant Evdokimov, founder of Cryptonomics, continuously
    8   touted his credentials as a high-experienced, cryptocurrency expert. Evdokimov
    9   knew or should have known that Cryptonomics was required to seek proper
   10   registration though the SEC.
   11         136. By virtue of the conduct alleged herein, Defendant Evdokimov is
   12   liable for the wrongful conduct complained of herein and is liable to Plaintiffs for
   13   rescission and/or damages suffered.
   14                                       COUNT V
   15                                COMMON LAW FRAUD
   16                                (Against all Defendants)
   17         137. Plaintiffs hereby incorporate by reference the allegations contained
   18   in the preceding paragraphs of this Complaint.
   19         138. This Count is asserted against all Defendants.
   20         139. Defendants authorized and/or made representations concerning the
   21   investment opportunity with Cryptonomics.
   22         140. The misrepresentations and omissions alleged herein include:
   23                a.    Failure to disclose all the risks associated with Cryptonomics’
   24                      business model, and indeed providing false comfort by making
   25                      statements indicating that it would be a profitable investment
   26                      scheme;
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                                           COMPLAINT
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    1                b.    Repeatedly making false statements regarding the profitability
    2                      of investing with Cryptonomics Capital, including repeated
    3                      comments guaranteeing a successful investment;
    4                c.    Deliberately concealing the investment commingling between
    5                      Defendant Evdokimov’s companies and Cryptonomics, and
    6                      failing to disclose the same;
    7                d.    Reneging on promises to return unprofitable investments in
    8                      Cryptonomics back to investors;
    9                e.    Prematurely ending Cryptonomics operations without properly
   10                      informing or refunding Plaintiffs’ investments;
   11                f.    Deliberately investing in financially unsound ICOs despite
   12                      numerous reassurances that each investment would undergo a
   13                      stringent vetting process; and
   14                g.    Intentionally failing to comply with U.S. securities regulations
   15                      in regard to registration.
   16         141. Defendants’ representations and omissions were materially false and
   17   misleading when made. These representations and omission were made
   18   intentionally or with reckless disregard for the truth.
   19         142. Defendants made these misrepresentations and omissions to
   20   Plaintiffs directly with knowledge that Plaintiffs would rely on them.
   21         143. Based up on their superior knowledge and expertise, their
   22   incomplete and misleading disclosures, and in light of the fact that Plaintiffs did
   23   not have access to material facts that were uniquely within Defendants’
   24   knowledge, Defendants had an affirmative duty to provide full, complete, and
   25   accurate disclosure of these material facts.
   26         144. Plaintiffs reasonably and justifiably relied to their detriment on
   27   Defendants’ misrepresentations and omissions and on Defendants’ affirmative
   28   duty to provide full, complete, and accurate disclosures to them.
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                                           COMPLAINT
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    1          145. Defendants’ misrepresentations and omissions induced Plaintiffs to
    2   invest with Cryptonomics, which they would not have done had Defendants been
    3   truthful.
    4          146. As a direct and proximate result of Defendants’ misrepresentations
    5   and omissions, Plaintiffs have suffered damages.
    6          147. Because Defendants’ conduct affected the public generally, and was
    7   gross and highly morally culpable, Plaintiffs also are entitled to punitive
    8   damages.
    9
   10                                    CONCLUSION
   11     WHEREFORE, Plaintiffs demand judgment against Defendants as follows:
   12          A. Declaring that Defendants are liable to Plaintiff under Sections 10(b)
   13               and/or 20(a) of the Exchange Act and/or Sections 5, 12(a)(1), and/or
   14               15(a) of the Securities Act;
   15          B.   Requiring an accounting of the funds and assets rightfully belonging
   16               to Plaintiffs;
   17          C.   Ordering rescission of the investments made by Plaintiffs in the
   18               unregistered securities, and/or compensatory damages;
   19          D. Awarding punitive damages;
   20          E.   Awarding Plaintiffs pre-judgment interest;
   21          F.   Awarding Plaintiffs the costs of this action, including reasonable
   22               attorneys’ fees and disbursements; and
   23          G. Granting such other and further relief as this Court may deem just and
   24               proper.
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                                           COMPLAINT
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    1                                DEMAND FOR JURY TRIAL
    2         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs
    3   demand trial by jury in this action of all issues so triable.
    4   Dated: Sept. 20, 2019
    5
                                   MARK BECK LAW, PC
    6
    7                              By:    /s/ John Hanusz
    8                                     John Hanusz
    9
   10
                                   MORRISON COHEN LLP
   11
                                   By:    /s/ Jason Gottlieb
   12                                     Jason Gottlieb (pro hac vice forthcoming)
                                          Modupeolu Adegoke (pro hac vice forthcoming)
   13
   14                              Attorneys for Plaintiffs Vitaly Anaykin
                                   and Konstantin Bondarev
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